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 7    FOOD COMPANY and SWIFT BEEF
      COMPANY
 8
                              UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
     LANE STOLL, an individual,                         Case No. 5:21-cv-1111
11
12                    Plaintiff,                        CERTIFICATE OF FILING
                                                        NOTICE TO PLAINTIFF OF
13           vs.                                        REMOVAL OF CIVIL ACTION
14                                                      TO THE UNITED STATES
     JBS USA FOOD CO. dba SWIFT BEEF                    DISTRICT COURT FOR THE
15   COMPANY, a California business, form               CENTRAL DISTRICT OF
16   unknown; JBS CASE READY, a                         CALIFORNIA
     California business, form unknown; and
17   DOES 1 through 20, inclusive,                      Removed from the Superior Court of
18                                                      the State of California, County of
                      Defendants.                       Riverside
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20                                                      Case No. CVRI2000256
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                  CERTIFICATE OF FILING NOTICE TO PLAINTIFF OF REMOVAL OF CIVIL ACTION
     sf-4520545
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 1          I hereby certify that I am counsel for JBS USA Food Company and Swift
 2 Beef Company (“Defendants”), and on July 2, 2021, pursuant to 28 U.S.C.
 3 § 1446(d), Defendants gave written notice of removal to Plaintiff Lane Stoll and
 4 filed a copy of that notice with the clerk of the Superior Court of the State of
 5 California, County of Riverside, the court from which this action was removed.
 6
 7
     Dated: July 2, 2021                    MORRISON & FOERSTER LLP
 8
 9
                                            By:         /s/ Tritia M. Murata
10                                                  Tritia M. Murata
11
                                                  Attorneys for Defendant JBS USA FOOD
12                                                COMPANY and SWIFT BEEF COMPANY
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                  CERTIFICATE OF FILING NOTICE TO PLAINTIFF OF REMOVAL OF CIVIL ACTION
                                                                                         DN 6034535.1
     sf-4520545
Case 5:21-cv-01111-KK Document 6 Filed 07/02/21 Page 3 of 3 Page ID #:63




 1                        CERTIFICATE OF SERVICE BY MAIL
                               (Fed. R. Civ. Proc. rule 5(b ))
 2
         I declare that I am employed with the law firm of Morrison & Foerster LLP,
 3 whose address is 707 Wilshire Boulevard, Suite 6000, Los Angeles, California
   90017-3543; I am not a party to the within cause; I am over the a_ge of eighteen
 4 years and I am readily famihar with Morrison & Foerster's practice for collection
   and processing of correspondence for mailing with the United States Postal Service
 5 and know that in the ordmary course of Mornson & Foerster's business practice the
   document described below will be deposited with the United States Postal Service
 6 on the same date that it is placed at Morrison & Foerster with postage thereon fully
   prepaid for collection and mailing.
 7
         I further declare that on the date hereof I served a copy of:
 8
 9                CERTIFICATE OF FILING NOTICE TO
                  PLAINTIFF OF REMOVAL OF CIVIL ACTION TO
10                THE UNITED STATES DISTRICT COURT FOR
                  THE CENTRAL DISTRICT OF CALIFORNIA
11
   on the following by placing a true copy thereof enclosed in a sealed envelope
12 addressed as follows for collection and mailing at Morrison & Foerster LLP, 707
   Wilshire Boulevard, Suite 6000, Los Angeles, California 90017-3543 , in
13 accordance with Morrison & Foerster' s ordinary business practices:
14                       Regina Spurley
                         LAW OFFICES OF REGINA
15
                         SPURLEY
16                       300 N. Lake Ave,, Suite 1100
                         Pasadena, CA 91101
17
                         Telephone: 310.285.8595
18                       Facsimile: 310.300.2112
                         Email: regina@raafirm.com
19
20                         Attorneys for Plaintiff
                                 Lane Stoll
21
            I declare under penalty of perjury that the above is true and correct.
22
            Executed at Los Angeles, California, this 2nd day of July, 2021.
23
24
25
26
                  Marco A. Perez                                                 Z,)- -

27                    (typed)                                      (signature)
28
                                                 2
                                  CERTIFICATE OF SERVICE BY MAIL
     sf-4520847
